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   USA-153Consent to Transfer of Case for Plea and Sentence (Under Rule 20)


                                                        In the United States District Court
                                                                      for the
                                                                                    V -7                  -

                                                             DISTRICT OF             MASSACHUSETTS

    UNITED STATES OF AMERICA

                          V.                                                         CRIMINAL NUMBER:             18-cr-10106-PBS
     DEMONE COLBMAN




                                                    Consent to Transfer of Case for Plea
                                                                and Sentence
                                                               (Under Rule 20)




 I, Demone Coleman, defendant, have been informed that an indictment is pending against me in the above-
 designated cause. I wish to plead guiltyto the offenses charged, to consent to the disposition of the case in the
 District of Maine in which I, Demone Coleman am held andto waive trial in the above-captioned District.




                                                                        Dated:      iO-Zb-\yr                         a. _
                                                                                 (Defendmt)^                  v
                                                                                 (Witne^




                                                                                 (Assistant United States Attorney)



                                                                  Approved



Nathaniel reMendell                                                           Halsey B. Frank
Acting United States Attorney                                                 United States Attorney
for the District of Massachusetts                                             for the District of Maine
